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                                             June 17, 2019

 VIA ECF

 Hon. Michael E. Wiles, U.S.B.J.
 United States Bankruptcy Court
 Southern District of New York
 One Bowling Green
 New York, NY 10004

                Re:     In re Boaz Bagbag, Case No.: 08 br 12667 (MEW)
                        Bagbag v. Summa Capital Corp., Case No.: 19 ap 01022 (MEW)

 Dear Judge Wiles:

                We represent Mr. Boaz Bagbag, the debtor in the above-referenced matter. The
 Court has scheduled, for this Wednesday June 19, 2019, an evidentiary hearing on the original
 petition and motion. We have just learned, however, that the Debtor will be unable to attend as
 he will be handling a serious and grave medical situation of his partner and mother of their
 children.1

                 In any event, by way of the motion for leave to file an amended complaint filed
 earlier today (the “Motion”), Debtor withdrew the currently operative set of pleadings and
 papers. Accordingly, he respectfully submits that there is no need for an evidentiary hearing on
 these papers and instead would proceed on the return date for the Motion, which is July 2, 2019.

                 Finally, we seek to briefly clarify the timing of the Motion, in response to the letter
 submission of Summa’s counsel earlier today (dkt. #27). On June 4, 2019, we wrote to the Court
 to respectfully request a new scheduling order in order to permit the Debtor to amend his
 complaint. We indicated that we could file a motion to amend within one week of the Court’s
 action on the letter. The Court then directed, on June 10, “If petitioner wishes to amend the
 complaint, it needs to file a motion that describes the proposed amendment and why it should be
 allowed.” Accordingly, we filed the motion, as promised, within one week, which was today,
 June 17.

               We are nonetheless happy to appear this Wednesday, June 19, 2019 and are
 prepared to explain these circumstances further in person.




 1As this letter is being filed on ECF, we will provide additional details as to her condition by
 hand-delivery.
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              Thank you for Your Honor’s consideration in this matter.

                                                   Respectfully submitted,



                                                   Adam Pollock

 cc:
       Wayne M. Greenwald, Esq. (via ECF)
       (counsel for Summa Capital Corp.)

       Greg Bennett, Esq. (via email)
       (counsel for former counsel for debtor)




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